Case 21-30085-hdh11 Doc 171 Filed 02/17/21                     Entered 02/17/21 11:04:01             Page 1 of 8




Judith W. Ross
State Bar No. 21010670
Frances A. Smith
State Bar No. 24033084
Eric Soderlund
State Bar No. 24037525
Jessica L. Voyce Lewis
State Bar No. 24060956
Ross & Smith, PC
700 N. Pearl Street, Suite 1610
Dallas, Texas 75201
Telephone: 214-377-7879
Facsimile: 214-377-9409
Email: judith.ross@judithwross.com
        frances.smith@judithwross.com
        eric.soderlund@judithwross.com
        jessica.lewis@judithwross.com
Counsel for Membership
Marketing Partners, LLC

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   (DALLAS DIVISION)

IN RE:                                               §
                                                     §        CHAPTER 11
NATIONAL RIFLE ASSOCIATION                           §
OF AMERICA and SEA GIRT LLC,                         §        CASE NO. 21-30085-hdh-11
                                                     §
                 DEBTORS. 1                          §        JOINTLY ADMINISTERED
                                                     §

                                         NOTICE OF HEARING

        PLEASE TAKE NOTICE that a hearing on MMP’s Motion for an Order Requiring the

United States Trustee to Reconstitute the Official Committee of Unsecured Creditors [Docket

No. 164] will be held on February 24, 2021 at 2:00 p.m., C.T. before the Honorable Harlin D.



1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.




NOTICE OF HEARING - Page 1
Case 21-30085-hdh11 Doc 171 Filed 02/17/21         Entered 02/17/21 11:04:01      Page 2 of 8




Hale, United States Bankruptcy Judge for the Northern District of Texas, at the Earl Cabell

Federal Building, 1100 Commerce St., Rm 1420, Dallas, Texas 75242.

       PLEASE TAKE FURTHER NOTICE that the hearing will be conducted via Webex. The

Webex hearing link is posted to Judge Hale’s Webpage and may be accessed here:

       https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-hales-hearing-dates

Dated: February 17, 2021                   By: /s/ Judith W. Ross
                                           Judith W. Ross, State Bar No. 21010670
                                           Frances A. Smith, State Bar No. 24033084
                                           Eric Soderlund, State Bar No. 24037525
                                           Jessica L. Voyce Lewis, State Bar No. 24060956
                                           Ross & Smith, PC
                                           700 N. Pearl Street, Suite 1610
                                           Dallas, Texas 75201
                                           Telephone: 214-377-7879
                                           Facsimile: 214-377-9409
                                           Email: judith.ross@judithwross.com
                                                   frances.smith@judithwross.com
                                                   eric.soderlund@judithwross.com
                                                   jessica.lewis@judithwross.com

                                           COUNSEL TO MEMBERSHIP
                                           MARKETING PARTNERS, LLC


                              CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on February 17, 2021, I caused the foregoing
Notice to be served upon via the Court’s ECF Notifications system, U.S. mail, and o/r email
where listed upon all parties listed in the attached Master Service List.

                                                   /s/ Judith W. Ross
                                                       Judith W. Ross




NOTICE OF HEARING - Page 2
Case 21-30085-hdh11 Doc 171 Filed 02/17/21       Entered 02/17/21 11:04:01    Page 3 of 8




                                    Master Service List
                           National Rifle Association of America
                                    Case No. 21-30085

Debtor:                                      Sarah Brooke Rogers
National Rifle Association of America        c/o Sarah Brooke Rogers
11250 Waples Mill Road                       Brewer ,Attorneys & Counselors
Fairfax, VA 22030                            750 Lexington Avenue, Floor 14
Served via U.S. mail                         New York, NY 10022
                                             (212) 527-2587
Sea Girt LLC                                 Fax : (212) 751-2849
11250 Waples Mall Road                       Email: sbr@brewerattorneys.com
Fairfax, VA 22030                            Served via ECF
Served via U.S. mail
                                             U.S. Trustee:
Debtor’s Counsel:                            United States Trustee
Neligan LLP                                  Attn: Lisa Young
c/o Douglas James Buncher                    1100 Commerce Street
 John D. Gaither                             Room 976
 Patrick Neligan, Jr.                        Dallas, TX 75202
325 N. St. Paul, Suite 3600                  (214) 767-8967
Dallas, TX 75201                             Email:
(214) 840-5300                               Served via ECF
Fax : (214) 840-5301
Email: dbuncher@neliganlaw.com               Secured Creditors:
 jgaither@neliganlaw.com                     Atlantic Union Bank
 pneligan@neliganlaw.com                     Attn: Andrew Kalin
Served via ECF                               1800 Robert Fulton Drive, Suite 100
                                             Reston, VA 20191
Brewer, Attorneys & Counselors               Email: andrew.kalin@atlanticunionbank.com
Attn: Michael J. Collins                     Served via email
5900 Comerica Bank Tower
1717 Main Street
Dallas, TX 75201
(214) 653-4000
Fax : (214) 653-1015
Email: MJC@brewerattorneys.com
Served via ECF




NOTICE OF HEARING - Page 3
Case 21-30085-hdh11 Doc 171 Filed 02/17/21       Entered 02/17/21 11:04:01       Page 4 of 8




Creditor Committee:                          Membership Advisors Fund Raising
Norton Rose Fulbright US, LLP                11250 Waples Mill Road, Suite 310
c/o Laura Lynn Smith                         Fairfax, VA 22030
 Louis R. Strubeck, Jr.                      Served via U.S. mail
 Kristian W. Gluck
 Scott Drake                                 Krueger Associates, Inc.
 Nick Hendrix                                105 Commerce Drive
2200 Ross Avenue, Suite 3600                 Aston, PA 19014
Dallas, TX 75201-7932                        Served via U.S. mail
(214) 855-8237
Fax : (214) 855-8200                         Infocision Management Corp.
Email: laura.smith@nortonrosefulbright.com   325 Springside Drive
 Louis.strubeck@nortonrosefulbright.com      Akron, OH 44333
 Kristian.gluk@nortonrosefulbright.com       Served via U.S. mail
 Scott.drake@nortonrosefulbright.com
 Nick.hendrix@nortonrosefulbright.com        Valtim Incorporated
Served via ECF                               P.O. Box 114
                                             Forest, VA 24551
20 Largest Unsecured Creditors:              Served via U.S. mail
Membership Marketing Partners LLC
11250 Waples Mill Road, Suite 310            Communications Corp of America
Fairfax, VA 22030                            Attn: Ken Bentley
Served via U.S. mail                         13129 Airpark Drive, Suite 120
                                             Elkwood, VA 22718
Gould Paper Corporation                      Served via U.S. mail
Attn: Warren Connor
99 Park Avenue, 10th Floor                   Salesforce.Com, Inc.
New York, NY 10016                           One Mark St. – The Landmark, Suite 300
Served via U.S. mail                         San Francisco, CA 94105
                                             Served via U.S. mail
Under Wild Skies
201 N. Union Street, Suite 510               Speedway Motorsports, Inc.
Alexandria, VA 22314                         P.O. Box 600
Served via U.S. mail                         Concord, NC 28026
                                             Served via U.S. mail
Quadgraphics
N63W23075 Hwy. 74                            Google
Sussex, WI 53089                             1600 Amphitheatre Parkway
Served via U.S. mail                         Mountain View, CA 94043-1351
                                             Served via U.S. mail
Membership Advisors Public REL
11250 Waples Mill Road, Suite 310
Fairfax, VA 22030
Served via U.S. mail




NOTICE OF HEARING - Page 4
Case 21-30085-hdh11 Doc 171 Filed 02/17/21   Entered 02/17/21 11:04:01    Page 5 of 8




Image Direct Group LLC                  United Parcel Services
200 Monroe Avenue, Building 4           P.O. Box 7247-0244
Frederick, MD 21701                     Philadelphia, PA 19170
Served via U.S. mail                    Served via U.S. mail

TMA Direct, Inc.                        Mahmooth A. Faheem
12021 Sunset Hills Road, Suite 350      Lori A. Butler
Manassas, VA 20109                      Pension Benefit Guaranty Corporation
Served via U.S. mail                    1200 K NW
                                        Washington, DC 20005-4026
Stone River Gear, LLC                   Email: mahmooth.faheem@pbgc.gov
P.O. Box 67                              butler.lori@pbgc.gov
Bethel, CT 06801                         efile@pbgc.gov
Served via U.S. mail                    Served via email

CDW Computer Centers, Inc.              Noticed Parties:
P.O. Box 75723                          Dallas County
Chicago, IL 60675                       c/o Laurie A. Spindler
Served via U.S. mail                    Linebarger Coggan Blair & Sampson, LLP
                                        2777 N. Stemmons Freeway, Suite 1000
Government Agencies:                    Dallas, TX 75207
Internal Revenue Service                Email: dallas.bankruptcy@publicans.com
P.O. Box 7346                           Served via ECF
Philadelphia, PA 19101-7346
Served via U.S. mail                    Ackerman McQueen, Inc.
                                        Brian E. Mason
Office of Attorney General (NY)         Dorsey & Whitney LLP
Attn: Letitia James                     300 Crescent Court, Suite 400
28 Liberty Street                       Dallas, TX 75201
New York, NY 10005                      Email: mason.brian@dorsey.com
Served via U.S. mail                    Served via ECF

Office of Attorney General (DC)         Christopher Cox
Attn: Karl A. Racine                    c/o Natalie L. Arbaugh
441 Fourth St., N.W., Suite 600-South   Winston & Strawn LLP
Washington, DC 20001                    2121 N. Pearl Street, Suite 900
Served via U.S. mail                    Dallas, TX 75201
                                        Email: narbaugh@winston.com
Office of Attorney General (TX)         Served via ECF
Attn: Ken Paxton
P.O. Box 12548
Austin, TX 78711-2548
Served via U.S. mail




NOTICE OF HEARING - Page 5
Case 21-30085-hdh11 Doc 171 Filed 02/17/21   Entered 02/17/21 11:04:01     Page 6 of 8




Christopher Cox                          Christopher Cox
c/o Thomas M. Buchanan                   c/o David Neier
Matthew Saxon                            Winston & Strawn LLP
Winston & Strawn LLP                     200 Park Avenue
1901 L St., N.W.                         New York, NY 10166-4193
Washington, DC 20036                     Email: dneier@winston.com
Email: tbuchana@winston.com              Served via ECF
 msaxon@winston.com
Served via ECF                           Ackerman McQueen, Inc.
                                         Mercury Group, Inc.
The County of Denton, Texas              c/o G. Michael Gruber
Tara LeDay                               Dorsey & Whitney LLP
McCreary, Veselka, Bragg & Allen, P.C.   300 Crescent Court, Suite 400
P.O. Box 1269                            Dallas, TX 75201
Round Rock, TX 78680                     Email: gruber.mike@dorsey.com
Email: tleday@mvbalaw.com                Served via ECF
Served via ECF
                                         Ackerman McQueen, Inc.
Michael I. Baird                         c/o H. Joseph Acosta
Pension Benefit Guaranty Corporation     Dorsey & Whitney LLP
1200 K St. NW                            300 Crescent Court, Suite 400
Washington, DC 20005-4026                Dallas, TX 75201
Email: baird.michael@pbgc.gov            Email: acosta.joseph@dorsey.com
 efile@pbgc.gov                          Served via ECF
Served via ECF
                                         M. Jermaine Watson
Mark Ralston                             Joshua N. Eppich
Fishman Jackson Ronquillo PLLC           H. Brandon Jones
Three Galleria Tower                     Clay M. Taylor
13155 Noel Road, Suite 700               J. Robertson Clarke
Dallas, TX 75240                         Bonds Ellis Eppich Schafer Jones LLP
Email: mralston@fjrpllc.com              420 Throckmorton Street, Suite 1000
Served via ECF                           Fort Worth, TX 76102
                                         Email: jermaine.watson@bondsellis.com
Robert Lapowsky                           joshua@bondsellis.com
Stevens & Lee, P.C.                       clay.taylor@bondsellis.com
620 Freedom Business Center, Suite 200    brandon@bondsellis.com
King of Prussia, PA 19406                 robbie.clarke@bondsellis.com
Email: rl@stevenslee.com                 Served via ECF
Served via ECF




NOTICE OF HEARING - Page 6
Case 21-30085-hdh11 Doc 171 Filed 02/17/21         Entered 02/17/21 11:04:01    Page 7 of 8




Joe E. Marshall                                Global New Beginnings, Inc.
Marshall Law                                   c/o Brandon R. Freud
2626 Cole Avenue, Suite 300                    Chuhak & Tecson, P.C.
Dallas, TX 75204                               30 S. Wacker Drive, Suite 2600
Email: jmarshall@marshalllaw.net               Chicago, IL 60606
Served via ECF                                 Email: bfreud@chuhak.com
                                               Served via ECF
The People of the State of New York, by
Letitia James, Attorney General of the State   Kevin T. White
of New York                                    Director – Legal
c/o Gerrit M. Pronske                          Quad/Graphics, Inc.
 Eric M. Van Horn                              601 Silveron Blvd., Suite 200
 Jason P. Kathman                              Flower Mound, TX 75028
SPENCER FANE LLP                               Email: ktwhite@quad.com
2200 Ross Avenue, Suite 4800 West              Served via ECF
Dallas, Texas 75201
(214) 750-3610 - Telephone                     David W. Giattino
(214) 750-3612 – Telecopier                    Stevens & Lee, P.C.
-and-                                          919 Market Street, Suite 1300
5700 Granite Parkway, Suite 650                Wilmington, DE 19801
Plano, Texas 75024                             Email: dwg@stevenslee.com
(972) 324-0300 - Telephone                     Served via ECF
(972) 324-0301 – Telecopier
Email: gpronske@spencerfane.com                Duane M. Geck
Email: ericvanhorn@spencerfane.com             Donald H. Cram
Email: jkathman@spencerfane.com                Severson & Werson, P.C.
Served via ECF                                 One Embarcadero Center, Suite 2600
                                               San Francisco, CA 94111
The People of the State of New York, by        Email: dmg@severson.com
Letitia James, Attorney General of the State    dhc@severson.com
of New York                                    Served via ECF
c/o James Sheehan
 Emily Stern
 Monica Connell
OFFICE OF LETITIA JAMES, ATTORNEY
GENERAL FOR THE STATE OF NEW
YORK
28 Liberty Street
New York, New York 10005
Telephone (212) 416-8401
Email: James.Sheehan@ag.ny.gov
Email: Emily.Stern@ag.ny.gov
Email: Monica.Connell@ag.ny.gov
Served via ECF




NOTICE OF HEARING - Page 7
Case 21-30085-hdh11 Doc 171 Filed 02/17/21   Entered 02/17/21 11:04:01   Page 8 of 8




                                        Honorable Phillip Journey
                                        c/o M. Jermaine Watson
                                         Joshua N. Eppich
                                         H. Brandon Jones
                                         Clay M. Taylor
                                         J. Robertson Clarke
                                        BONDS ELLIS EPPICH SCHAFER
                                         JONES LLP
                                        420 Throckmorton Street, Suite 1000
                                        Fort Worth, Texas 76102
                                        (817) 405-6900 telephone
                                        (817) 405-6902 facsimile
                                        Email: jermaine.watson@bondsellis.com
                                        Email: joshua@bondsellis.com
                                        Email: clay.taylor@bondsellis.com
                                        Email: brandon@bondsellis.com
                                        Email: robbie.clarke@bondsellis.com
                                        Served via ECF




NOTICE OF HEARING - Page 8
